               Case 1:08-cr-00239-GBL Document 175 Filed 03/06/09 Page 1 of 6 PageID# 1056
AO 245B (Rev. 12/03XVAED rev. 2) Sheet 1 - Judgment in a Criminal Case
                                                                                                                                   . 11



                                           UNITED STATES DISTRICT COURT                                                     "'ill1
                                                      Eastern District of Virginia                                -6 2009    0
                                                              Alexandria Division                                           ...T


UNITED STATES OF AMERICA


                                                                         USM Number:         None assigned



         the Indictment,                                                                              for trjai

 Defendant.

                                              JUDGMENT IN A CRIMINAL CASE
      The defendant was found guilty on Counts 1,2, 4, 5 and 6 of the Superseding Indictment after a plea of not guilty.
      The defendant is adjudicated guilty of these offenses.
                                                                                       Offense
                                                                                       Class
                                           Nature nf Offense
  Title and Section
                                                                                       Felony
                                           Conspiracy
  18 U.S.C. 371

                                                                                       Felony
   18 U.S.C. 2,1030(a)(2)(C) and            Computer intrusion
   (c)(2)(B)(i)

                                                                                       Felony
   18 U.S.C. 2,1030(a)(2)(C) and            Computer intrusion


   47 U.S.C. 223(a)(l)(C)                   Harassing phone calls                       Felony
   18 U.S.C. 2,2701(a)(l), (a)(2)           Unlawful access to stored information       Felony
   and (b)(l)(A)

        The Court has dismissed Count 3 of the Superseding Indictment on oral motion of the United States prior ,„ voir dire.
       As pronounced on March 6,2009, the defendant is sentenced as provided in pages 2 through 6 of mis
    Judgment. The sentence is imposed pursuant to the Sentencing Reform Act of 1984.



    States Attorney of material changes in economic circumstances.



                                                             2009.
         Signed this Jg_ day of.
                                                                                                 M.
                                                                            Gerald Bruce Lee
                                                                            United States District Judge


                                                                          Gerald Bruce Lee
                                                                          United States District Judge
              Case 1:08-cr-00239-GBL Document 175 Filed 03/06/09 Page 2 of 6 PageID# 1057




AO 24SB (Rev. 12/O3XVAED rev. 2) Judgment in a Criminal Case
         Sheet 2 - Imprisonment

Defendant's Name:          ELAINE ROBERTSON CIONI
Case Number:                l:08CR00239-001
                                                               IMPRISONMENT

    Th. defend is Kercby
                                                into ,h= ousted,-of *. «**IS--




    The
          defendant is remanded into the custody of the United States Marshal.




                                                                         RETURN

      I have executed this judgment as follows:.


       Defendant delivered on

                                                                    with a certified copy of this Judgment.




                                                                             UNITED STATES MARSHAL




                                                               By
                                                                             DEPUTY UNITED STATES MARSHAL
                Case 1:08-cr-00239-GBL Document 175 Filed 03/06/09 Page 3 of 6 PageID# 1058
                                                                                                                Page 3 of6
AO 245B (Rev. 12/03XVAED rev. 2) Judgment in a Criminal Case
          Sheet 3 - Supervised Release

Defendant's Name:            ELAINE ROBERTSON CION1
Case Number:                 l:08CR00239-001
                                                      SUPERVISED RELEASE



supervised release term of TWO (2) YEARS.
The Probation Offlce shall provide ft. defendan, with a copy of the standard conditions and any speca, cond,t,onS
    ZSEZU report ,0 the probation office in the district to which the defendan, is re,eased within 72 hours
 of release from the custody of the Bureau of Prisons.


                                     3£
                                                 upended, based on the courts determination ft* the defendan, poses a



  J2

  Penalties sheet of «•>-•■£                      ^ CONDITIONS OF SUPERVISION
        The defendan, shal. comply wi,h the s*ndard conditions tha, have been adopted by this court as we,, as w,«h any



                                                    a,, inauiries by ft. probation off.cer and foUow ft. Actions of the probation
   3,




                                                                            ^z7r:^^
   7)
    8) Tdefeln. shall no, frequen, places where controlled subaances are illegally sold, used, distributed, or

    ,)
         £SSS                      no, associa,e wi,h any persons engaged in criminal ^^,."0, associa,e wi,h any




     ,2) ^defendant shall no, en,er in,o any agreemen, ,o ac, as an informer or as an agen, of a law enforcemen, agency
              Case 1:08-cr-00239-GBL Document 175 Filed 03/06/09 Page 4 of 6 PageID# 1059
                                                                                                         Page 4 of6
AO 245B (Rev. 12/03XVAED rev. 2) Judgment in a Criminal Case
         Sheet 3A - Supervised Release

Defendant's Name:           ELAINE ROBERTSON CIONI
Case Number:                l:08CR00239-001

                                         SPECIAL CONDITIONS OF SUPERVISION
While on supervised release, pursuant to this Judgment, the defendant shall also comply with the following additional
special conditions:

1) The defendant shall participate in a mental health program as directed by the Probation Officer.
2) The defendant shall waive all rights of confidentiality regarding mental health treatment in order to allow the
   release of information to the Probation Officer and authorize communication between the Probation Officer and
     the treatment provider(s).

3) The defendant shall exhibit uniform good behavior.
4) The defendant shall obtain and maintain gainful employment.
 5) The defendant must not contact any of the victims and/or Long & Foster victims by email or telephone.
 6) The defendant must not have any Internet access without computer monitoring software to restrict and/or record any
      and all activity on any computer to which defendant shall have access.
 7) The defendant must not remove any computer monitoring software installed by the Probation Officer or the
      Probation Office.
              Case 1:08-cr-00239-GBL Document 175 Filed 03/06/09 Page 5 of 6 PageID# 1060
                                                                                                          Page 5 of6
AO 245B (Rev. 12/03XVAED rev. 2) Judgment in a Criminal Case
         Sheet 5 - Criminal Monetary Penalties

Defendant's Name:           ELAINE ROBERTSON CIONI
Case Number:                l:08CR00239-001




                                             CRIMINAL MONETARY PENALTIES
The defendant must pay the total criminal monetary penalties under the Schedule of Payments on Sheet 6.




 No fines have been imposed in this case.



 The Court waives the cost of prosecution, incarceration, and supervised release.
              Case 1:08-cr-00239-GBL Document 175 Filed 03/06/09 Page 6 of 6 PageID# 1061
                                                                                                           Page 6 of6
AO 245B (Rev. 12/O3XVAED rev. 2) Judgment in a Criminal Case
         Sheet 6 - Schedule of Payments


Defendant's Name:           ELAINE ROBERTSON CIONI
Case Number:                1:08CR00239-001

                                                  SCHEDULE OF PAYMENTS
Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:
The special assessment shall be due in full immediately.




 The
       defendant shall receive credit for all payments previously made toward any criminal monetary penalties onposed.



   t in the court's order shall prohibit the collection of any judgment or fine by the United States.
 Noting
